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                                                 MISbOULA, MT



                                           PATRICK E. D U F F Y
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

JERROLD G. COOLEY, JOLEE                                Cause No. CV-06-75-M-JVS
COOLEY, MICHAEL J. COOLEY, and
KAILEY COOLEY,

              Plaintiffs,



CITY OF MISSOULA, CITY OF                                   ORDER FOR DISMISSAL
MISSOULA POLICE DEPARTMENT,
MISSOULA COUNTY, MISSOULA
COUNTY SHERIFF'S DEPARTMENT,
CHIEF WICKMAN, OFFICER
MCCARTHY, SERGEANT
RICHARDSON, SHERIFF MCMEEKIN,
DEPUTY MEEDER, DEPUTY WHITE,
DEPUTY STINEFORD, AND DOES
A-Z.

              Defendants.

     IT IS HEREBY ORDERED AND ADJUDGED that this matter is dismissed with

prejudice, with each party to bear their own costs and expenses.

     DATED this     @ day ofAugust, 2007.
